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Case 2:04-CV-02748-SHI\/|-tmp Document 9 Filed 05/17/05 Page 1 of 2 Page|D 4

 
 
 

 

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THoMAs JoERN WoLTER, W_ g d m net-mae
Plaintiff,
vs. No. 04-274s-MaP

U.S. DEPT. OF HOMELAND SECURITY,

Defendant.

 

ORDER TO SHOW CAUSE

 

Before the court is Defendant’s February 8, 2005 motion to dismiss Plaintiff has not yet
responded to the motion, and the time for response has passed.

Plaintiff is hereby ordered to Show cause Within eleven (11) days from the date of this order
as to why Defendant’s motion should not be granted

tr ls so oRDERED this 17 ”Hay of May 2005.

§ M/%._~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with note 58 and/or 79(3) FRCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02748 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Jamie B. Naini

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Honorable Sarnuel Mays
US DISTRICT COURT

